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                                DEPARTMENT OF THE NAVY
                         NAVAL SCHOOL EXPLOSIVE ORDNANCE DISPOSAL
                                      8840 RANGE ROAD
                                NICEVILLE, FLORIDA 32578-8729
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                                                                           Ser CO/018
                                                                           19 Jan 22

MEMORANDUM

From: Commanding Officer, Naval School Explosive Ordnance Disposal
To:   Commanding Officer, Center for EOD and Diving

Subj: COMMAND INVESTIGATION (CI) INTO THE UXO ACCIDENT AT RANGE
      C-52N ON 10 SEPEMBER 2021

1. NAVSCOLEOD completed a thorough investigation into all events surrounding the UXO
accident involving a medical support contractor Mr. Wayne Fabozzi. I have found that he
removed UXO from a known impact range placing himself, staff and students at risk. After
removal and handling of the UXO, the ordnance item detonated as designed, causing significant
injury to himself. Mr Fabozzi had received the required UXO training and signed
acknowledgment of that training as a condition of employment. He was not involved in AA&E
evolutions and was stationed in the safe area. I find that the UXO accident to be separate from
the AA&E training evolutions being conducted that day.

2. While not directly related to the UXO accident, the CI and further investigation provides
finding of fact and adds the following.

       a. The training department failed to provide oversight/guidance to Demolition Division
          leadership on a consistent basis. This lack of oversight in demolition policy and
          procedures lead to a culture of complacency over time.

       b. On 10 Sep Demolition Division exceeded the DDESB sited range limits (84-S6
          DDESB ESS) and the SOP by approximately 1400 lbs Net Explosive Weight.
          Demolition Division had been experiencing unreliability in blasting cap lots resulting
          in misfires. The Demolition Division officer authorized his division to tie three 800
          lb Net Explosive Weight (NEW) shots together with detonation cord to mitigate the
          possibility of a misfire. The resulting action of connecting the shot together with
          detonation cord created a 2400 lb NEW detonation on a 1000 lb NEW range. The
          fragmentation distance did not increase because the 800 lb build-ups were separated
          by distance. However, the blast radius was significantly extended past range
          limitations.

       c. Explosive operations at range 52N are not being tamped. The AF Form 943
          associated with AFSC-Eglin-84-S6 reflects that explosives will be tamped with an
          earth overburden. The initial DDESB siting was approved based on the documents
          submitted. I have found no evidence that would suggest tamped demolition operations
          have ever taken place on range 52 N.




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       d. The Demolition Division Standard Operating Procedures (SOP) is signed by the
          NAVSCOLEOD Commanding Officer vice the Installation Commander without
          delegation of authority. NOSSA 8023.11D pg 4, 7.a-b pg 5, 9.a

       e. There were multiple working copies of the Demolition Division SOPs that were not
          serialized and maintained as required by the SOP. The copies were inconsistent in
          content and did not support seamless demolition operations.

       f. The DEMO SOP lacked clarity in its intent for required safety briefings. Medical
          response personnel were not included in the daily hazardous control brief as they are
          not considered part of an AA&E operation.

       g- Mr. Fabozzi showed the UXO to a NAVSCOLEOD instructor, who instructed him to
           put it down. The instructor violated the SOP as it is written as he did not stop training
           and call for a Training Time Out (TTO). However, when the UXO was presented the
           instructor was in the process of getting students into the OCB. The time fuse had
           already been initiated on the down range detonation. In this instance a TTO is not an
           executable course of action.

       h. Process Supervisors Statements were not signed and up-to-date.

       i. The Training Safety Officer (TSO) duties were being performed as a division
          collateral duty without command oversight. Divisional TSO's had a lack of
          consistency in their procedures and quality assurance checks across high risk training.

3. I have made the following immediate corrective actions:

       a. Conducted Command safety stand-down focused on UXO policy and procedures.

       b. I have relieved the Demolition Division OIC (Army O-3) and assigned him in a Non-
          leadership instructor position in a low-risk division not involved in demolition
          operations.

       c. Directed the new Demolition Division officer to conduct a safety stand-down within
          his division prior to commencing demo operations.

       d. Formally counseled the division Leading Chief Petty Officer LCPO (Navy E-8) and
          removed his Range Safety Officer (RSO) qualifications. The LCPO will requalify
          under the supervision of the Director of Training (DOT).

       e. Formally counseled the RSO of 10 Sep (Army E-7) and removed his RSO
          qualifications. Service Member will requalify under the supervision of the Director of
          Training (DOT).

       f. Established a Command Training Safety Assurance Officer (GS-11), as an additional
          duty for the Command Explosive Safety Officer, which reports directly to the

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            Commanding Officer. All divisional Training Safety Officer's will be aligned under
            the command TSAO and the Training Safety Administrator for all matters related to
            Training Safety.

       g. Formally counseled the Demolition Division Training Safety Officer (GS-11) and
            directed that he re-train and qualify under the direct supervision of the Command
            Training Safety Assurance Officer. (GS-11).

       h. Demolition operations have been suspended on range 52N.

       i.   Requested and received approval from DDESB a re-site of range 52N.

            Extended UXO clean up contract to sweep range road on 52N down to the OCB that
            includes a 100m radius around the OCB.

       k. Complete review and update of the Demolition SOP that includes concise language
          that is required for daily briefings.

       1.   Requested concurrence from Eglin AFB Installation Commander to sign all DEMO
            SOP's for NAVSCOLEOD.

       m. Reviewed all NAVSCOLEOD high risk training SOPs and ensured daily operations
          aligned to SOP requirements.

       n. I am evaluating my TASKORG to ensure my training and training/safety assigned
          personnel are singularly focused within the scope of their positions.

4. Commanders Observation


My Director of Training (DOT) was in the process of turnover on 10 Sep 2021. The outgoing
DOT had been extended at NAVSCOLEOD for over 7 years. Over that period of time the DOT's
sphere of influence at the command had expanded outside of the Training Department. This
cultural anomaly vastly exceeded his span of control. The outgoing DOT inadvertently began to
assume risk in training as he focused his efforts towards command level functions vice the
execution of high risk training.

The high risk TSO responsibilities are delegated down to each division at NAVSCOLEOD. Each
division assigned their TSO responsibilities to their respective government service employee
whose job description included instructor and curriculum management. This course of action
created a conflict of interest as the TSO in DEMO was being taxed for time as an instructor,
RSO, and curriculum manager. Each division's policy and procedures varied and lacked required
command level of oversight.

Medical response personnel are not considered part of an AA&E evolution. If their services are
required they will be escorted by an EOD technician. While this is technically correct, I find the

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exclusion of the contracted medical team to be inconsistent with High Risk Training evolutions
and best practices.

Turnovers were being conducted by personality vice policy and is inconsistent with the standards
of NAVSCOLEOD. "This is the way we have always done it" was the consistent theme and over
time what right looks like in accordance with policy became lost.

Due to the decades of time lapse I am unable to determine the intent for the range citing on 52N
and can only base my assessment on the documentation that is available. The statement to tamp
the demo shots does not correlate with any of the project background verbiage used in the initial
1984 request, nor does EAFBI 13-212 Range Planning and Operations stipulate an earth
overburden tamp requirement for any of the Eglin ranges. However, I find that NAVSCOLEOD
is not in compliance with the documentation as written and while this may be a 37 year
administrative oversight in the documentation, Range 52N will remain secured until edits are
completed to the Demolition Division SOP following DDESB re-siting approval.

While I possess no statement to confirm, it is my opinion that NAVSCOLEOD DEMO
instructors did violate policy in the past by providing Mr. Fabozzi with fragmentation from the
range.

5. I find that the UXO accident and demolition procedures on 10 Sep 2021 are separate and
distinct events, and the demolition operations that day did not contribute to the injuries of the
medical support contractor. However, I do find that we as an organization grossly violated
established procedures and fostered a culture of systemic deviation from the norms which in turn
became normal operations. I have taken aggressive steps to correct the deficiencies and I am
confident NAVSCOLEOD can continue training without interruption.




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